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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                Defendant.                        *
                                                  *

                           GOVERNMENT’S NOTICE OF FILING

       The Government hereby gives notice that on November 22, 2023, pursuant to ECF No.

148, it filed with the Court, through the Classified Information Security Officer, a pleading entitled

“Government’s Response to Defendant’s Discovery Objection.”

                                                      Respectfully submitted,

                                                      JACK SMITH
                                                      Special Counsel

                                               By:    /s/Thomas P. Windom
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